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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                          District of South Carolina

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )         Case No.
 A residence in Elgin, South Carolina more particularly                 )
          described in the attached Affidavit                           )
                                                                        )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 The residence further described in Attachment A.
located in the     --------
                                                  District of         South Carolina
                                                                ------------
                                                                                                , there is now concealed (identify the
person or describe the property to be seized):

 The items further described in Attachment B.

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ii evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 0 property designed fo r use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
          Code Section                                                            Offense Description
      18 U.S.C. § 924(c)                          Use or carry of a firearm during and in relation to a drug trafficking crime;
      21 U.S .C. § 841 (a)(1)                     Possession with intent to distribute marijuana ; and
      21 U.S .C. § 841                            Conspiracy to commit violations of 21 U.S .C. § 841 (a)(1)

          The application is based on these facts :
         Descrioed in Affdiavit.


           ii Continued on the attached sheet.
           iii' Delayed notice of  30 days (give exact ending date if more than 30 days : _ __ _ _ ) is requested
               under 18 U.S.C. § 3103a, the basis ofwhich is set forth on the attached sheet.



                                                                                               Applicant's signature

                                                                                          ATF TFO Catherine Robison
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date :           02/11/2020


City and state: Columb ia, South Caroilna                                      Shiva V. Hodges, United
                                                                                               Printed name and title
